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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DOMINIQUE JEWETT, AND ALL OTHERS
SIMILARLY SITUATED UNDER 29 USC
216(B)
       Plaintiff,
                  v.
                                                        Civil Action No. 3:16-cv-1068
SUPERIOR HEALTHPLAN, INC. &
CENTENE COMPANY OF TEXAS, L.P,
      Defendants.                                       JURY TRIAL DEMANDED



                PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES

        Plaintiff discloses the following parties who have an interest in the outcome of this

litigation:

PLAINTIFF

1.      Dominique Jewett

2.      Plaintiff’s Counsel
        J. Derek Braziel and Jay Forester; Lee & Braziel, LLP, including its partner

        Jack Siegel; Siegel Law Group


DEFENDANTS

1.      Superior Healthplan, Inc.

2.      Centene Company of Texas, L.P.

3.      Defendants’ Counsel

4.      All persons and entities listed on Defendants’ Certificate of Interested Parties



                                                      Respectfully submitted,



PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES                                              Page - 1
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                                                    _/s/ Jack Siegel___________
                                                    JACK SIEGEL
                                                    Co-Attorney in Charge
                                                    Texas Bar No. 24070621
                                                    Siegel Law Group PLLC
                                                    10440 N. Central Expy.
                                                    Suite 1040
                                                    Dallas, Texas 75231
                                                    (214) 706-0834 phone
                                                    (469) 339-0204 fax
                                                    www.siegellawgroup.biz

                                                    J. DEREK BRAZIEL
                                                    Co-Attorney in Charge
                                                    Texas Bar No. 00793380
                                                    JAY FORESTER
                                                    Texas Bar No. 24087532
                                                    Lee & Braziel, L.L.P.
                                                    1801 N. Lamar Street, Suite 325
                                                    Dallas, Texas 75202
                                                    (214) 749-1400 phone
                                                    (214) 749-1010 fax
                                                    www.overtimelawyer.com

                                                    ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document will be served on
Defendants with Plaintiff’s Original Complaint and Summons.



                                                    _/s/J. Derek Braziel_________________
                                                    J. DEREK BRAZIEL




PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES                                             Page - 2
